91 F.3d 155
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.David J. BLAIR, Defendant-Appellant.
    No. 95-35468.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 9, 1996.*Decided July 15, 1996.
    
      Before:  HUG, Chief Judge, and SCHROEDER and POOLE, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      David James Blair, a federal prisoner, appeals pro se the district court's denial of his 28 U.S.C. § 2255 motion challenging his criminal conviction on double jeopardy grounds.  We have jurisdiction pursuant to 28 U.S.C. § 2255, and we affirm.
    
    
      3
      Blair contends that his criminal conviction violated the Double Jeopardy Clause because he had already been punished for the same conduct through prior federal administrative forfeiture proceedings.  This contention is foreclosed by United States v. Ursery, No. 95-345, 1996 WL 340815 (U.S. June 24, 1996).
    
    
      4
      Blair next contends that his criminal conviction violated the Double Jeopardy Clause based on a prior in rem civil forfeiture action brought by Clatsop County, Oregon pursuant to 1989 Oregon Laws Chapter 791.  Applying the analytical framework set forth in Ursery, we conclude that the state in rem civil forfeiture was "neither 'punishment' nor criminal for purposes of the Double Jeopardy Clause."  Id. at * 16.   Accordingly, Blair's criminal conviction did not violate the Double Jeopardy Clause.
    
    AFFIRMED.1
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         Because we affirm the district court's denial of Blair's motion under the former version of 28 U.S.C. § 2255, we do not consider whether the Antiterrorism and Effective Death Penalty Act of 1996 applies to this appeal
      
    
    